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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


    DAMIEN GUEDES,
                 et al.


                      Plaintiffs,
                                                        Case No. 1:18-cv-02988-DLF
         v.                                             The Hon. Judge Friedrich

    BUREAU OF ALCOHOL, TOBACCO
    FIREARMS, AND EXPLOSIVES,
                   et al.


                      Defendants.




    DAVID CODREA,
                        et al.


                      Plaintiffs,
                                                        Case No. 1:18-cv-03086-DLF
         v.                                             The Hon. Judge Friedrich

    BUREAU OF ALCOHOL, TOBACCO
    FIREARMS, AND EXPLOSIVES,
                   et al.


                      Defendants.


              DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
        Defendants hereby move for summary judgment pursuant to Fed. R. Civ. P. 56. 1 In

accordance with Local Civil Rule 7(h)(2), this motion is accompanied by a statement of facts

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  The parties have agreed that, although the claims in the two above-captioned cases are not
identical, the interests of, judicial economy and the just and speedy resolution of this action, see
Fed. R. Civ. P. 1, would be served by having Defendants file a single motion for summary
judgment addressing the arguments of both sets of Plaintiffs, and having both sets of Plaintiffs
file a single, combined response and single, combined cross-motion. Accordingly, Defendants
are filing an identical version of this motion in each of the above-captioned cases.
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with reference to the administrative record, as well as a memorandum of points and

authorities and a proposed order. For the reasons explained therein, the Court should enter

judgment in Defendants’ favor.




DATED this 28th day of May, 2020.

                                              Respectfully submitted,

                                              JOSEPH H. HUNT
                                              Assistant Attorney General

                                              MATTHEW J. GLOVER
                                              Counsel

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                                              Assistant Branch Director

                                              /s/ Eric J. Soskin
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